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                          UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF MISSOURI


 In re:                                          )   Case No. 21-40834-DRD
                                                 )   Chapter 11
 INTERSTATE UNDERGROUND                          )
 WAREHOUSE AND INDUSTRIAL PARK,                  )
 INC.                                            )
                                                 )
                Debtor.                          )




            DEBTOR’S MOTION FOR ENTRY OF INTERIM AND FINAL ORDERS
             AUTHORIZING THE DEBTOR TO UTILIZE CASH COLLATERAL


                Interstate Underground Warehouse and Industrial Park, Inc. (“IUW” or the

 “Debtor”), as debtor and debtor in possession in the above-captioned case (the “Chapter 11

 Case”) respectfully states as follows in support of this motion (the “Motion”):

                                         Relief Requested

                1.     By this Motion, the Debtor seeks entry of an interim order substantially in

 the form of the “Interim Cash Collateral Order” and a final order (the “Final Cash Collateral

 Order,” and both such orders, the “Cash Collateral Orders”), pursuant to sections 105, 361, 362,

 363, 364, 503, 506(c) and 507 of title 11 of the United States Code (the “Bankruptcy Code”) and

 rules 2002, 4001, 6003 and 9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

 Rules”):

                (a)    authorizing the Debtor to use the proceeds of the Prepetition Collateral (as
                       defined herein), including Cash Collateral (as defined herein), in
                       accordance with the terms hereof, including pursuant to the Budget (as
                       defined herein);

                (b)    granting adequate protection to Woodmen (as defined below) for use of
                       Cash Collateral as allowed in the Interim Cash Collateral Order;
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                (c)     scheduling a final hearing (the “Final Hearing”) to consider entry of a final
                        order (the “Final Order”) authorizing and approving, on a final basis,
                        among other things, the continued use of Cash Collateral and granting
                        adequate protection, in each case, as described in the Motion and set forth
                        in the Interim Cash Collateral Order; and

                (d)     granting related relief.

                                      Jurisdiction and Venue

                2.      This Court has jurisdiction to consider this matter pursuant to

 28 U.S.C. §§ 157 and 1334. Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. This

 matter is a core proceeding pursuant to 28 U.S.C. §157(b).

                                             Background

 A.     General

                3.      On July 1, 2021 (the “Petition Date”), the Debtor filed a voluntary petition

 for relief under chapter 11 of the Bankruptcy Code.           The Debtor operates a network of

 underground storage facilities within a single location in Kansas City, Missouri. IUW houses

 approximately 3 million square feet of dry storage, 250,000 square feet of cooler space, and

 500,000 square feet of freezer space for the storage of a variety of customer goods.

                4.      The Debtor is operating its business and managing its properties as a

 debtor in possession pursuant to Bankruptcy Code sections 1107(a) and 1108. No trustee,

 examiner or official committee has been appointed in the Chapter 11 Case.

                5.      A comprehensive description of the Debtor’s operations and events

 leading to the commencement of this chapter 11 case is set forth in the First Day Declaration.

 B.     Prepetition Capital Structure and Indebtedness

                6.      The Debtor and its professionals conducted a lien search to determine the

 potential secured claimants which may claim an interest in the Debtor’s cash. While it is

 plausible that no entity has a perfected prepetition lien on the Debtor’s cash, the Debtor files this


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 motion out an abundance of caution so that it can continue using cash to fund its business

 operations in the ordinary course. The inclusion of a claim herein is not an admission of the

 validity of such claim, and the Debtor reserves the right to object to or otherwise contest all

 claims asserted against it during the Chapter 11 Case.

                     7.       Woodmen of the World Life Insurance Society (“Woodmen”) holds a

 secured claim with a balance of approximately $2.3 million as of the Petition Date. Woodmen’s

 claim is secured by a commercial mortgage on the Debtor’s real property located at 8201 East

 23rd Street, Kansas City, Missouri, and by a security interest in, among other things, the leases

 and rents, equipment, accounts, fixtures and general intangibles relating or pertaining to such real

 property (the “Prepetition Collateral”). As of January 2, 2012, an appraisal conducted of the real

 property indicated a valuation of approximately $9.1 million, assuming there is a functioning

 freezer unit for the storage space. The cost to replace and/or repair the current freezer unit will be

 approximately $5 million.

                     8.       Cash of the Debtor in existence on the Petition Date and cash that is

 acquired by the Debtor after the Petition Date as proceeds of Prepetition Collateral constitutes

 cash collateral (the “Cash Collateral”) within the meaning of Section 363(a) of the Bankruptcy

 Code for Woodmen’s benefit.1

                     9.       During the prepetition period, IUW remitted the amount of $41,123.00, in

 principal and interest, to Woodmen per month for repayment of its loan.

                           Summary Terms of Proposed Use of Cash Collateral


 1
     The lien search also revealed that in December 2017, Great Western Bank filed a UCC Financing Statement
       against the Debtor, asserting a security interest in, among other things, all inventory, equipment, accounts, all
       accounts receivables, chattel paper, instruments, letter of credit rights, letters of credit, deposit accounts,
       investment property, rights to payment, general intangibles. However, the Debtor does not currently remit
       payments to Great Western Bank nor has any knowledge of this UCC filing. Furthermore, Floyd Anderson
       asserts a second trust deed on IUW’s property, which the Debtor disputes as valid.


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         10.        The chart below contains a summary of the material terms of the Debtor’s

 proposed use of cash collateral, together with references to the applicable sections of the relevant

 source documents, as required by Bankruptcy Rule 4001(b)(1)(B).

    Applicable Rule                                     Summary of Material Terms
      Borrower
                                      Interstate Underground Warehouse and Industrial Park, Inc.
    4001(b)(1)(B)(i)
                             Finance ordinary course of business operations, including maintain business
                              relationships with their customers and other parties; make payroll; make capital
     Purpose of Use           expenditures; make adequate protection payments; pay the costs of the administration
    4001(b)(1)(B)(ii)         of the Chapter 11 Case; and satisfy other working capital and general corporate
                              purposes of the Debtor.


                             Use of cash collateral during the pendency of the chapter 11 case, in accordance with
    Material Terms            the Budget, attached hereto as Exhibit A
    4001(b)(1)(B)(iii)
                             Grant such adequate protection as outlined below

 Adequate Protection              Debtor shall be authorized to provide adequate protection to Woodmen with
                                   respect to, among other things, the use of their Cash Collateral and the Prepetition
 Bankruptcy Rules                  Collateral
 4001(b)(l)(B)(iv)                Woodmen is entitled pursuant to sections 361, 363(c)(2), and 364(d)(1) of the
                                   Bankruptcy Code, to adequate protection of their interest in the Prepetition
                                   Collateral, including Cash Collateral, in an amount equal to the diminution in
                                   value of their interests in such Collateral.
                                  Woodmen is hereby granted the following:
                                  Adequate Protection Liens. As security for the payment of the Adequate
                                   Protection Obligations, Woodmen is hereby granted (effective and perfected upon
                                   the date of this Interim Cash Collateral Order and without the necessity of the
                                   execution by the Debtor of security agreements, pledge agreements, mortgages,
                                   financing statements or other agreements) a valid, perfected replacement security
                                   interest in and lien on all of the Collateral to the same extent, validity, and
                                   priority of their respective pre-petition liens (the “Adequate Protection Liens”)
                                   and only to the extent any Cash Collateral is diminished post-petition together
                                   with any proceeds thereof
                                  As further adequate protection, IUW will continue remitting the monthly
                                   payment in the amount of $41,123.00 to Woodmen.

 Entities with Interests The following prepetition secured parties may have an interest in Cash Collateral:
 in, and Use of, Cash
 Collateral               Woodmen of the World Life Insurance Society

 Bankruptcy Rule          Great Western Bank [disputed]
 4001(b)(l)(B)(i)            Floyd Anderson [disputed]




                                         Basis for Relief Requested


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            11.      Section 363(c) of the Bankruptcy Code governs a debtor’s use of a secured

 creditor’s cash collateral. Specifically, that provision provides, in pertinent part, that:

            The trustee may not use, sell, or lease cash collateral . . . unless—

            (A)      each entity that has an interest in such cash collateral consents; or

            (B)      the court, after notice and a hearing, authorizes such use, sale, or lease in
                     accordance with the provisions of this section [363].

 11 U.S.C. § 363(c)(2). Furthermore, section 363(e) provides that “on request of an entity that

 has an interest in property . . . proposed to be used, sold or leased, by the trustee, the court, with

 or without a hearing, shall prohibit or condition such use, sale, or lease as is necessary to provide

 adequate protection of such interest.” 11 U.S.C. § 363(e).

            12.      Here, the Debtor believes that use of Cash Collateral pursuant to the terms herein

 is the best and only option available to the Debtor to finance the Chapter 11 Case and will

 maximize the value of the Debtor’s estate by allowing the Debtor to operate in the ordinary

 course while pursuing a successful reorganization. Accordingly, use of Cash Collateral is a

 sound exercise of the Debtor’s business judgment.                    The Debtor attempted to consult with

 Woodmen prior to filing this Motion, but the Debtor has not received a response.2 Therefore, the

 Debtor should be authorized to use the Cash Collateral on the terms set forth in the Interim Order.

                     13.      The Debtor submits that the interests of Woodmen will be adequately

 protected, and the proposed adequate protection is authorized under applicable law. A debtor

 may obtain post-petition credit “secured by a senior or equal lien on property of the estate that is

 subject to a lien only if” the debtor, among other things, provides “adequate protection” to those

 parties whose liens are primed. See 11 U.S.C. § 364(d)(1)(B). What constitutes adequate

 protection is decided on a case-by-case basis, and adequate protection may be provided in

 2
     Because the Debtor does not believe Great Western Bank has a valid interest in Cash Collateral, the Debtor did not
       confer with Great Western Bank.


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 various forms, including payment of adequate protection fees, payment of interest, or granting of

 replacement liens or administrative claims. See, e.g., In re Martin, 761 F.2d 472, 474 (8th Cir.

 1985) (“[S]uch matters ‘are [to be] left to case-by-case interpretation and development.’”)

 (internal citations omitted). The critical purpose of adequate protection is to guard against the

 diminution of a secured creditor’s collateral during the period when such collateral is being used

 by the debtor in possession. See Martin, 761 F.2d at 474; In re Johnson, 90 B.R. 973, 978

 (Bankr. D. Minn. 1988) (holding that secured creditor is not impaired and is not entitled to

 receive adequate protection payments where value of collateral does not decline).

                14.    Woodmen is entitled to adequate protection for, among other things, the

 use of Cash Collateral and other Prepetition Collateral to the extent of any aggregate diminution

 in value of their interest in the Prepetition Collateral, from and after the Petition Date. Such

 adequate protection will consist of replacement liens and claims on all collateral acquired post-

 petition to the extent of any diminution in value and to the same extent that such liens existed

 during the prepetition period. Further, the Debtor will continue remitting the monthly mortgage

 payment to Woodmen in the same amount as during the prepetition period. Finally, Woodmen

 will also receive reasonable access to the Debtor’s facilities, management, books, and records as

 required under the applicable loan documents.




                   The Requirements of Bankruptcy Rule 6003 Are Satisfied

        15.     The Debtor seeks immediate authorization for the relief requested in this Motion.

 Pursuant to Bankruptcy Rule 6003(b), a bankruptcy court cannot grant “a motion to use, sell,

 lease or otherwise incur an obligation regarding property of the estate, including a motion to pay



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 all or part of a claim that arose before the filing of the petition” within the first twenty-one (21)

 days after the petition date unless the relief is “necessary to avoid immediate and irreparable

 harm.” Fed. R. Bankr. P. 6003(b). For the reasons set forth herein, Rule 6003(b) has been

 satisfied.

                        Waiver of Bankruptcy Rule 6004(a) and 6004(h)

                16.     By this Motion, the Debtor requests that the Court enter an order

 providing that notice of the relief requested herein satisfies Bankruptcy Rule 6004(a) and that the

 Debtor has established cause for a waiver of any stay of the effectiveness of the order approving

 this Motion under Bankruptcy Rule 6004(h). For the reasons set forth herein and in the First Day

 Declarations, the Debtor submits that notice of the relief requested herein is appropriate under

 the circumstances and that ample cause exists to justify a waiver of the 14-day stay imposed by

 Bankruptcy Rule 6004(h).




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                WHEREFORE, the Debtor respectfully requests entry of the proposed Cash

 Collateral Orders, granting the relief requested herein and such other relief as is just and proper.

 Dated:   July 2, 2021               Respectfully submitted,
          Kansas City, Missouri
                                     ARMSTRONG TEASDALE LLP

                                      /s/ Pamela Putnam
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                                     - and -

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                                      Exhibit A

                                     The Budget
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                                                 6/25/2021 7/2/2021 7/9/2021 7/16/2021 7/23/2021 7/30/2021 8/6/2021 8/13/2021 8/20/2021 8/27/2021 9/3/2021 9/10/2021 9/17/2021 9/24/2021
Beginning Bal                                      100,000 131,600 147,650     120,350   102,300   111,085   86,935    85,935    68,385    77,170   49,520    26,720    10,220    44,920

Projected Income         Warehouse                  50,000    120,000   50,000    50,000    50,000   50,000    120,000   50,000    50,000   50,000    120,000   50,000    50,000   50,000
                         Selg-Storage                3,500      7,000    3,500     3,500     3,500    7,000      3,500    3,500     3,500    3,500      7,000    3,500     3,500    3,500
                         Weld Bldg Dep                        100,000                                          100,000

Total Projected Income                              53,500    227,000   53,500    53,500    53,500   57,000    223,500   53,500    53,500   53,500    127,000   53,500    53,500   53,500

Projected Expenese       Payroll                               26,000             26,000             26,000              26,000             26,000              26,000             26,000
                         P/R Taxes                              2,500              2,500              2,500               2,500              2,500               2,500              2,500
                         P/R fees                                 850                850                850                 850                850                 850                850
                         Insurance-Med                          7,000              7,000              7,000               7,000              7,000               7,000              7,000
                         401K exp                                 400                400                400                 900                400                 400                400
                         Contract Labor                        10,000             10,000             10,000              10,000             10,000              10,000             10,000
                         Repairs Freezer             5,000     25,000    5,000     5,000    25,000    5,000      5,000    5,000    25,000    5,000      5,000    5,000     5,000    5,000
                         Warehouse Exp/repairs       2,500      2,500    2,500     2,500     2,500    2,500      2,500    2,500     2,500    2,500      2,500    2,500     2,500    2,500
                         Electricity                                    50,000                                  50,000                                 50,000
                         Phones/Cell                 3,000                                   3,000                                  3,000                                           3,000
                         Water                                  2,000                                            2,000                                  2,000
                         Trash                                           4,000                                            4,000                                  4,000
                         Insurance-Prop                        23,000                                           23,000                                 23,000
                         Insurance-W/C                          1,000              1,000              1,000               1,000              1,000               1,000              1,000
                         Insurance-Vehicles                                750                                     750                                             750
                         Mortgage-Woodman                      41,250                                           41,250                                 41,250
                         Office Exp                             6,500                                            6,500                                  6,500
                         Bank Charges                  500                                     500                                    500                                             500
                         Merchant Fees               3,000                                   3,000                                  3,000                                           3,000
                         Prof Fees A/T                         10,000   10,000    10,000    10,000   10,000     10,000   10,000    10,000   10,000     10,000   10,000    10,000   10,000
                         Prof Fees L/R                          8,000                                 8,000                                  8,000                                  8,000
                         Prof Fees Klawuhn                                         5,000
                         CBD Inv                     5,400                                            5,400                                  5,400
                         Delivery Expense            2,500                                            2,500                                  2,500
                         AndersonWeld Pmt                      43,950                                           43,950
                         ServiceMaster                          1,000                                            1,000                                  1,000
                         CIT Lease                                                 1,000                                  1,000                                            1,000
                         Pitney Lease                                                300                                    300                                              300
                         Cameras                                                                                30,000
                         Lease Consult.                                                       715                                    715                                              715
                         Ford Pmt                                        1,050                                   1,050                                  1,050
                         Prof Fees Accting                                5000                                    5000                                   5000
                         Outside Services                                2,500                                   2,500                                  2,500


                         Total Est Expenses         21,900    210,950   80,800    71,550    44,715   81,150    224,500   71,050    44,715   81,150    149,800   70,000    18,800   80,465

                         Net                        31,600     16,050   -27,300   -18,050    8,785   -24,150    -1,000   -17,550    8,785   -27,650   -22,800   -16,500   34,700   -26,965
